Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 1 of 9 PageID #: 17251

                 R E ID & W IS E           LLC


                 AT T O R N E Y S A N D C O U N S E L O R S AT LAW

    ____________________________________________________________________________________________

    New York Office:                                                                        Shanghai Office:
    One Penn Plaza, Suite 2015                                                              Wheelock Square, Suite 602A
    New York, NY 10119                                                                      Jing’an, Shanghai 200040
    Phone +1 (212) 858-9968                                                                 Phone: +86 (021) 6071-5320
    www.reidwise.com




                                                                         January 11, 2023


   Via ECF
   The Honorable Pamela K. Chen
   U.S. District Court Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

           Re:       SEC v. Xia et al.,
                     Case No. 1:21-cv-5350-PKC-RER

   Dear Judge Chen:

           Our firm represents a group of EB-5 investors in the Eastern Mirage Project in a New York
   State Court lawsuit against Richard Xia and his companies, captioned Mao Tang, et al. v. Fleet
   New York Metropolitan Regional Center LLC, et al. (NY Supreme Court, NY County, Index
   No. 655822/2019) (Schecter, J.) ("State Court Action"). The Plaintiffs in the State Court Action,
   which has been pending since 2019, assert claims against Richard Xia and two of his companies
   for breach of contract, breach of fiduciary duty, and fraud. By Order dated December 15, 2022,
   the Defendants in the State Court Action were held in default and Plaintiffs were granted leave by
   Justice Schecter to "move for a default judgment against them." (Exhibit A)

           Defendants’ counsel in this case recently provided to us a redacted copy of the sealed
   Preliminary Injunction Order entered by this Court dated December 8, 2022 (ECF Doc. 217),
   which contains language prohibiting "any creditor ... against the Defendants [from taking] any
   action to interfere with the asset freeze, including, but not limited to, the filing of any lawsuits . . .
   to impact the property and assets subject to this ORDER."

           It is our understanding and position that the Preliminary Injunction Order does not by its
   terms purport to restrain our clients from moving forward and seeking a default judgment in the
   State Court Action. The entry of a default judgment would not "interfere with the asset freeze” or
   “impact the property and assets subject to" the Order. In addition, our clients, who are not parties
   to the SEC Action nor within the group of non-parties listed in FRCP 65(d)(2), would not be bound

                                                                     1
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 2 of 9 PageID #: 17252

                 R E ID & W IS E           LLC


                 AT T O R N E Y S A N D C O U N S E L O R S AT LAW

       ____________________________________________________________________________________________

   by the Preliminary Injunction Order.1 A contrary interpretation would raise constitutional issues
   and issues under the Anti-Injunction Act which were not addressed by this Court’s Order.

           We have asked counsel for the SEC and the Defendants for their position on this issue. The
   SEC advises that, to their understanding, the Preliminary Injunction Order does not enjoin the
   continued prosecution of pending litigation against Defendants, such as the State Court Action.
   Defendants, on the other hand, take the position that “that the Asset Freeze Order prohibits your
   clients from prosecuting the pending State Court Action and you must seek relief for you to do
   so.” (Email from M. Rifkin, dated Jan. 2, 2023, attached as Exhibit B.) We note that the Defendants
   here previously moved to stay the State Court Action, which Justice Schecter denied by Decision
   and Order dated August 10, 2022. (Exhibit C) Defendants now seek the same relief through an
   overly expansive interpretation of this Court’s Preliminary Injunction Order.

          Given the position taken by Defendants, and out of an abundance of caution, we seek the
   Court’s guidance concerning the scope of its Preliminary Injunction Order.2 We are available to
   address this matter at the Court’s convenience.

                                                                         Respectfully submitted,



                                                                         Matthew Sava

   cc: All Counsel of Record




   1
     “[N]o court can make a decree which will bind anyone but a party; a court . . . cannot lawfully
   enjoin the world at large, no matter how broadly it words its decree. . . . its jurisdiction is limited
   to those over whom it gets personal service, and who therefore can have their day in
   court." Alemite Mfg. Corp. v Staff, 42 F2d 832, 832-33 (2d Cir 1930).
   2
       This letter does not constitute general appearance or consent to jurisdiction.

                                                                     2
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 3 of 9 PageID #: 17253
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 4 of 9 PageID #: 17254
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 5 of 9 PageID #: 17255
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 6 of 9 PageID #: 17256
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 7 of 9 PageID #: 17257
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 8 of 9 PageID #: 17258
Case 1:21-cv-05350-PKC-RER Document 231 Filed 01/11/23 Page 9 of 9 PageID #: 17259
